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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JULIE ELLEN WARTLUFT F/K/A JULIE                     :
ELLEN BARTELS AND FREDERICK L.                       :
BARTELS, JR., Individually and as                    :
Administrators of the Estate of Abrielle Kira        : C.A. NO.:
Bartels, Deceased,                                   : 1:16-cv-02145-CCC
                                       Plaintiffs,   :
                        vs.                          : (CONNER, C.J.)
                                                     :
THE MILTON HERSHEY SCHOOL,                           :
                                                     :
and                                                  :
                                                     :
THE HERSHEY TRUST COMPANY, AS                        :
TRUSTEE OF THE MILTON HERSHEY                        :
SCHOOL TRUST,                                        :
                         Defendants.                 :
                                                     :

                JOINT STIPULATED PROTECTIVE ORDER

       It is hereby ORDERED that the following terms and conditions shall govern

the disclosure and use of confidential information (including documents,

testimony, answers to interrogatories, admissions, data, other materials and their

contents) in this proceeding:

   1. To preserve the legitimate proprietary and privacy interests of sources of

information, this Order establishes a procedure for disclosing Confidential

Information (defined in Paragraph 2 below) to the parties in this proceeding,

imposes obligations on persons receiving Confidential Information to protect it
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from unauthorized use or disclosure, and establishes a procedure for challenging

confidentiality designations.   This Order applies to any PHI (as defined in

Paragraph 3 below) used, produced or disclosed in this litigation, whether or not

such PHI is otherwise publicly available, and to any other information furnished

by parties and nonparties that is not otherwise publicly available.

   2. This Order covers information that the producing or disclosing party or non-

party (hereinafter “source”) designates in good faith as “Confidential.” The parties

to this Order further agree that they will use “Confidential” material or information

solely for the purposes of facilitating the prosecution or defense of the action

(including appeals) and not for any business or other purpose.

   3. The designation “Confidential” shall be limited to information that the

source reasonably and in good faith believes is of a proprietary or commercially

sensitive nature, or should otherwise be subject to confidential treatment. The

designation “Confidential” shall also apply to Protected Health Information

(“PHI”) (as defined by the Health Insurance Portability and Accountability Act of

1996 (“HIPAA”)). Notwithstanding anything to the contrary in this Order or in

any attachment hereto, all materials produced in this litigation containing PHI

shall be used solely for the purposes of this matter and shall be returned to the

source or destroyed at the end of this litigation in compliance with 45 C.F.R. §

164.512(e)(1)(v).


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   4. To designate information as “Confidential” a source must so mark it or, in

the case of a deposition or hearing transcript, designate it as provided in

paragraphs 10 and 11 herein, respectively. Either designation may be withdrawn

by the source. The source must mark each page of each document and/or each

significant component of any other object containing Confidential Information

with the appropriate designation as required.        A cover letter can be used, if

appropriate, to designate material provided in a computerized format as

“Confidential.”

   5. The parties agree that, in the event of an accidental disclosure of

Confidential Information without its designation as “Confidential,” the parties will

work in good faith to permit the source to correct the disclosure.

   6. Subject to the provisions of Paragraph 8, information designated as

“Confidential” may be disclosed to and used only by:

               a.      Counsel of record for the parties in this litigation and such

                       counsel’s support staff involved in this litigation;

                  b.   In-house counsel and support staff to the parties involved in

                       this litigation;

                  c.   Any party to this litigation, or present or former employee of

                       such party or its affiliated entities, to whom counsel

                       reasonably determines it is necessary to provide the


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                      information for purposes of this litigation;

               d.     Any consultant or expert who is being consulted or retained

                      by counsel in this litigation (including such consultant’s or

                      expert’s support staff);

               e.     Deponents (including the stenographic reporters and video

                      technicians);

               f.     Witnesses and potential witnesses, but only to the extent

                      reasonably required for a party’s case preparation;

               g.     Clerical or ministerial service providers, including outside

                      copying services, retained by a party’s counsel to assist such

                      counsel in connection with this litigation;

               h.     The Court and its support staff; and

               i.     Others specifically identified and authorized in writing by

                      the disclosing party.

   7. Counsel for the respective parties shall be responsible for obtaining, prior to

disclosure and as a condition thereof, the written agreement of any person to whom

any Confidential Information is disclosed (other than those Persons enumerated in

paragraph 5 (a), (b), (c), (e), or (h), above) to be bound by the terms of this Order.

Such written agreement shall be in the form annexed hereto as Attachment A.

   8. Deposition transcripts shall presumptively be considered to have been


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designated “Confidential” for a period of fourteen (14) days following receipt of

the transcript by the parties. During that time period, upon further review of the

transcript, the deponent, his counsel, or any party may designate all or portions of

the transcript as “Confidential” which designation shall remain in effect for the

duration of this Order. If there is no designation within the fourteen (14) day

period, then the deposition transcript shall no longer be considered as containing

Confidential Information. The deponent, his counsel, or any party making such a

designation must advise counsel of record and the court reporter of the designation.

The court reporter shall mark the face of the transcript appropriately. If any

portion of a videotaped deposition is designated pursuant to this paragraph, the

videocassette or other videotape or CD-ROM container shall be labeled with the

appropriate legend. Nothing in this paragraph shall prevent a party from making

specific designations on the record during the deposition, and the court reporter

shall mark the face of the transcript appropriately in that event.

   9. This Order may be applied equally to information obtained by or produced

in response to any subpoena, including, in particular, information produced by

non-parties. Any non-party that designates any information as “Confidential”

pursuant to this Order may agree to submit to the Court’s jurisdiction in the United

States District Court for the Middle District of Pennsylvania with regards to the

determination of any disputes involving such designation.


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   10. The following procedures shall govern any challenges to confidentiality
designations:

            a.     If a party reasonably believes that information should not be

                   designated as “Confidential” it must specify to the source in

                   writing: (a) the information in issue, and (b) its grounds for

                   questioning the confidentiality designation. The parties agree

                   that prior to any written notice challenging the propriety of a

                   confidentiality designation, they will telephonically confer or

                   meet in person in good faith.

            b.     If the parties are unable to resolve their dispute, the source may

                   move the Court to validate the confidentiality designation

                   within fourteen days of written notice by the receiving party

                   that the dispute has not been resolved.          The challenged

                   confidentiality designation shall remain in effect for that

                   fourteen-day period, or, if a motion is filed, until the Court

                   rules on the confidentiality designation.

            c.     The party claiming confidentiality will have the burden of

                   proving that the challenged confidentiality designation is

                   appropriate under the circumstances.

   11. Nothing in this Order shall prevent a party from using or disclosing its own

information as it deems appropriate.

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   12. This Order shall survive the termination of this proceeding. Within sixty

(60) days after the final resolution of this proceeding, parties in possession of

“Confidential” information produced by other sources shall either destroy or

return to counsel for the source that produced it, at their request and expense, all

such information.    Counsel for each party must certify compliance for this

paragraph within this sixty (60) day period. As for those materials that contain or

reflect “Confidential” information, but also constitute or reflect counsel’s work

product, counsel of record for the parties shall be entitled to retain such work

product in their files in accordance with the provisions of this Order, so long as it

is clearly marked to reflect that it contains information subject to the Protective

Order, and so long as counsel shall take all other reasonable steps to ensure that

such documents are securely maintained.        Counsel shall be entitled to retain

pleadings, deposition transcripts, and the hearing record (including exhibits) even

if materials contain “Confidential” materials so long as such information is

marked to reflect that it contains information subject to Protective Order, and so

long as counsel shall take all other reasonable steps to ensure that such documents

are securely maintained.      Counsel retaining court reporters shall have the

responsibility of informing them of these requirements.

   13. No information may be withheld from discovery on the ground that the

material to be disclosed requires protection greater than that afforded by


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paragraph (1) of this Order unless the party claiming a need for greater protection

moves for an order providing such special protection pursuant to the Federal

Rules of Civil Procedure.




APPROVED AS TO FORM AND ENTRY:



/s Gregory F. Cirillo                  /s Jarad W. Handelman
Gregory F. Cirillo (PA 46878)          Jarad W. Handelman, Esquire (PA 82629)
John J. Higson (PA 80720)              Kyle M. Elliott, Esquire (PA 306836)
Dilworth Paxson LLP                    Elliott Greenleaf, P.C.
1500 Market Street, Suite 3500E        17 N. Second Street, Suite 1420
Philadelphia, PA 19102                 Harrisburg, PA 17101
215.575.7000 (phone)                   717.307.2600 (phone)
gcirillo@dilworthlaw.com               717.307.2060 (fax)
jhigson@dilworthlaw.com                215.977.1000 (phone)
Counsel for Plaintiff                  215.977.1099 (fax)
                                       jwh@elliottgreenleaf.com
                                       kme@elliottgreenleaf.com
                                       Counsel for Defendants




SO ORDERED this ____ day of _______________, 2017


__________________________
Christopher C. Conner, Chief Judge




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                                 “ATTACHMENT A”
ACKNOWLEDGMENT OF JOINT STIPULATED PROTECTIVE ORDER

      I have read the Joint Stipulated Protective Order that has been entered in this

proceeding, Wartluft v. Milton Hershey School, et al., 1:16-cv-02145-CCC (M.D.

Pa.), and a copy of it has been given to me. I understand the provisions of this

Order, and agree to comply with, and to be bound by its provisions. I hereby agree

to subject myself to the jurisdiction of this Court for purposes of enforcement of

the terms and restrictions of the Order. I agree that I will use “Confidential”

material or information solely for the purposes of facilitating the prosecution or

defense of the action and not for any business or other purpose.

      I further agree that I shall not disclose “Confidential” material or

information to anyone other than persons permitted to have access to such material

or information, pursuant to the terms and restriction of the Order. I further agree

that, upon termination of this proceeding, or sooner if so requested, I shall return

all confidential material provided to me, including all copies and excerpts thereof,

pursuant to the terms of the Order.



                        [CONTINUED ON NEXT PAGE]
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     I declare under penalty of perjury that the foregoing is true and correct.



________________________              ________________________
Date                                  Signature

                                      ________________________
                                      Print Name

                                      ________________________
                                      Company

                                      ________________________
                                      Address




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                   CERTIFICATION OF CONCURRENCE
      Pursuant to Local Civil Rule 7.1, as this Motion is filed jointly, all counsel

concur with the Motion.

Respectfully submitted,


/s Gregory F. Cirillo                   /s Jarad W. Handelman
Gregory F. Cirillo, Esquire             Jarad W. Handelman, Esquire
(PA 46878)                              (PA 82629)
John J. Higson, Esquire                 Kyle M. Elliott, Esquire
(PA 80720)                              (PA 306836)
Dilworth Paxson LLP                     Elliott Greenleaf, P.C.
1500 Market Street, Suite 3500E         17 N. Second Street, Suite 1420
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215.575.7000 (phone)                    717.307.2600 (phone)
gcirillo@dilworthlaw.com                717.307.2060 (fax)
jhigson@dilworthlaw.com                 215.977.1000 (phone)
Counsel for Plaintiff                   215.977.1099 (fax)
                                        jwh@elliottgreenleaf.com
                                        kme@elliottgreenleaf.com
                                        Counsel for Defendants

Dated: March 9, 2017
